                                                                                      FILED
                                                                                       FEB 20    2019
                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS                        WIN
                                                                                 GLE4LJIJ.S. DISTRICT   COURT
                                                                                             ThiOt OF TEXAS
                                   SAN ANTONIO DIVISION

 UNITED STATES OF AMERICA,                              §     CRIMINAL NO.SA:
                                                        §
                 Plaintiff,                             §     INDICTMENT
v.                                                      §
                                                        §     [In violation of:
                                                        §     18 U.S.C. § 2252A(a)(5)(B)
BENJAMIN BOGARD,                                        §     Possession of Child Pornography]


                Defendant.                  SA ib CR 0106 DAE
THE GRAND JURY CHARGES:

                                           COUNT ONE
                                    [18 U.S.C. § 2252A(a)(5)(B)]

     On or about January 25, 2019, within the Western District of Texas, the Defendant,

                                      BENJAMIN BOGARD,

did knowingly possess material, specifically, a Huawei P20 Lite ANE-LX3 cellular phone bearing

serial number KPSDU1 8425000143, which contained an image of child pornography, as defined

in Title 18, United States Code, Section 2256(8)(A), that involved a prepubescent minor, and

which had been shipped and transported using any means and facility of interstate and foreign

commerce, and was produced using materials that had been mailed, shipped and transported in and

affecting interstate and foreign commerce, including by computer,

     All in violation of Title 18, United States Code, Section 2252A(a)(5)(B).

     NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                         [See Fed. R. Crim. P. 32.21


              Sexual Exploitation of Children Violations and Forfeiture Statutes

     As a result of the foregoing criminal violations set forth above, the United States of America

gives notice to Defendant, BENJAMIN BOGARD, of its intent to seek the forfeiture of certain



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property subject to forfeiture, including but not limited to the digital and electronic devices seized

by law enforcement during the investigation of this case, upon conviction and pursuant to Fed. R.

Crim. P. 32.2 and Title 18 U.S.C.     §   2253(a)(l), (2), and (3), which states:

            Title 18 U.S.C. § 2253. Criminal forfeiture
                   (a) Property subject to criminal forifeiture.-A person who is convicted of
                   an offense under this chapter involving a visual depiction described in
                   section 2251, 2251A, 2252, 2252A, or 2260 of this chapter or who is
                   convicted of an offense under section 225 lB of this chapter, or who is
                    convicted of an offense under chapter 1 09A, shall forfeit to the United
                    States such person's interest in-

                          (1) any visual depiction described in section 2251, 2251A, 2252,
                          2252A, or 2260 of this chapter, or any book, magazine, periodical,
                          film, videotape, or other matter which contains any such visual
                          depiction, which was produced, transported, mailed, shipped or
                          received in violation of this chapter;
                          (2) any property, real or personal, constituting or traceable to gross
                          profits or other proceeds obtained from such offense; and
                          (3) any property, real or personal, used or intended to be used to
                          commit or to promote the commission of such offense or any
                          property traceable to such property.




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      JOHN F. BASH
      UNITED STATES ATTORNEY
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      TRACY
      Assistant United State' Attorney
